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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

                                   6                                         SAN JOSE DIVISION

                                   7
                                         OPTRONIC TECHNOLOGIES, INC,
                                   8                                                       Case No. 5:16-cv-06370-EJD
                                                        Plaintiff,
                                   9
                                                 v.                                        PRETRIAL ORDER (JURY)
                                  10
                                         NINGBO SUNNY ELECTRONIC CO.,                      Re: Dkt. No. 235
                                  11     LTD., et al.,
                                  12                    Defendants.
Northern District of California
 United States District Court




                                  13          The parties in the above-entitled action came before the Court for a Trial Setting

                                  14   Conference on May 2, 2019. Based on the parties’ Joint Trial Setting Conference Statement and

                                  15   their oral argument, the Court orders as follows:

                                  16          IT IS HEREBY ORDERED that the parties shall complete an ADR session no later than

                                  17   June 28, 2019. While principals need not attend the ADR session in person, they must be

                                  18   immediately available in real-time to provide authorization for any potential settlement. Counsel

                                  19   represented to the Court that principals would be available.

                                  20          IT IS FURTHER ORDERED that the following schedule shall apply to this case:
                                        EVENT                                                           DATE
                                  21
                                        Deadline to Meet and Confer per Dkt. No. 221                    May 13, 2019
                                  22
                                        Deadline for Plaintiff to Produce its Experts for Deposition    May 17, 2019
                                  23
                                        Designation of Rebuttal Experts with Reports                    May 31, 2019
                                  24
                                        Expert Discovery Cutoff                                         June 28, 2019
                                  25    Deadline for Dispositive Motion
                                        (The parties are to comply with the Standing Order for Civil
                                  26                                                                    July 25, 2019
                                        Cases section IV for the Motion for Summary Judgment, and
                                        any Cross-Motion for Summary Judgment.)
                                  27    Deadline for Daubert Motions                                    July 25, 2019
                                  28
                                             Case 5:16-cv-06370-EJD Document 239 Filed 05/02/19 Page 2 of 2




                                   1       Hearing on Anticipated Dispositive Motion(s) and Daubert         September 12, 2019
                                           Motion(s)
                                   2
                                           Final Pretrial Conference                                        11:00 a.m. on October 10, 2019
                                   3       Joint Final Pretrial Conference Statement, Motions in limine     September 26, 2019
                                           and Exchange of Exhibits
                                   4
                                           Voir Dire Questions, Proposed Jury Instructions, Oppositions October 3, 2019
                                   5       to Motions in limine and Proposed Jury Verdict Forms

                                   6       Trial Exhibits                                                   October 8, 2019
                                   7
                                           Jury Selection                                                    9:00 a.m. on October 15, 2019
                                   8                                                                        October 15-16, 18, 22-23, 25, 29-
                                           Jury Trial1                                                      30, 2019
                                   9                                                                        November 1, 2019
                                  10       Jury Deliberations                                               November 4-8, 2019
                                  11
                                                 IT IS FURTHER ORDERED that neither party may serve sur-rebuttal expert reports
                                  12
Northern District of California




                                       absent a compelling showing of good cause.
 United States District Court




                                  13
                                                 IT IS FURTHER ORDERED that the parties shall comply with the Standing Order for
                                  14
                                       Civil Cases, a copy of which is available from the Clerk of the Court,2 with regard to all pretrial
                                  15
                                       submissions.
                                  16
                                                 The court advises the parties that this is the final case schedule. All parties are expected
                                  17
                                       to comply as directed above. This schedule will not be amended further absent the presentation of
                                  18
                                       good cause necessitating such an amendment.
                                  19
                                                 IT IS SO ORDERED.
                                  20
                                       Dated: May 2, 2019                              _______________________________
                                  21                                                     EDWARD J. DAVILA
                                                                                         United States District Judge
                                  22

                                  23   1
                                         Jury trials are held in full day sessions on Tuesdays, Wednesdays and Fridays, unless the Court
                                  24   specifies otherwise. On the date set for jury selection, counsel should be prepared to commence
                                       trial proceedings immediately after a jury is identified. The final trial schedule will be confirmed
                                  25   at the Final Pretrial Conference.
                                       2
                                  26     A copy of Judge Davila’s standing order is also available on the court’s website at
                                       www.cand.uscourts.gov by clicking first on the “Judges” button, then on Judge Davila’s name,
                                  27   then on the link for “Judge Davila’s Standing Orders,” and finally on the link for “Standing Order
                                       for Civil Cases.”
                                  28                                                   2
                                       Case No.: 5:16-cv-06370-EJD
                                       PRETRIAL ORDER (JURY)
